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                              IN THE UNITED STATES DISTRICT COURT
                               FOR THE WESTERN DISTRICT OF TEXAS
                                         WACO DIVISION


ERIC CERVINI, WENDY DAVIS, DAVID                    §
GINS, TIMOTHY HOLLOWAY,                             §
                                                    §
                Plaintiffs,                         §
                                                    §
v.                                                  §                   1:21-CV-565-RP
                                                    §
ELIAZAR CISNEROS, HANNAH CEH,                       §
JOEYLYNN MESAROS, ROBERT                            §
MESAROS, and DOLORES PARK,                          §
                                                    §
                Defendants.                         §

                                               ORDER

        Before the Court are Defendant Dolores Park’s (“Park”) Emergency Motion Requesting

Authorization for Interlocutory Appeal, (Dkt. 66); Joeylynn and Robert Mesaros’s (“the Mesaros

Defendants”) Motion to Reconsider or, in the Alternative, Authorize Interlocutory Appeal, (Dkt.

69); and Eliazar Cisneros’ (“Cisneros”) Motion for Leave to Appeal, (Dkt. 70). After reviewing the

briefing, the relevant law, and the record, the Court will deny all three motions.

                                         I. BACKGROUND

        On March 23, 2022, this Court entered an order denying Defendants’ Motions to Dismiss.

(Dkt. 66). Thereafter, Park, the Mesaros Defendants, and Cisneros filed their motions for the Court

to reconsider and grant leave for an interlocutory appeal. The Mesaros Defendants request the Court

reconsider its ruling, arguing that the Court failed to address the issue of whether “a cause of action

(rather than jurisdiction) is lacking under 1985(3) for interference with ‘support or advocacy’ in the

absence of state action.” (Dkt. 69, at 3). All three motions argue that the Court should certify an

interlocutory appeal because the issue of whether § 1985(3) requires the Plaintiffs to plead that the


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conspiracy against them stemmed from race-based animus is a novel, controlling issue of law, there

is substantial ground for difference of opinion about the question of law, and an immediate appeal

from the order may materially advance the ultimate termination of the litigation. (See generally Dkts.

66, 69, 70).

                                       II. LEGAL STANDARD

                                    1. Motion for Reconsideration

        “[T]he Federal Rules of Civil Procedure do not recognize a general motion for

reconsideration.” St. Paul Mercury Ins. Co. v. Fair Grounds Corp., 123 F.3d 336, 339 (5th Cir. 1997).

American Title asserts its motion under Rule 54(b). “[A]ny order or other decision, however

designated, that adjudicates fewer than all the claims or the rights and liabilities of fewer than all the

parties does not end the action as to any of the claims or parties and may be revised at any time

before the entry of a judgment adjudicating all the claims and all the parties’ rights and liabilities.”

Fed. R. Civ. P. 54(b). “Rule 54(b) allows parties to seek reconsideration of interlocutory orders and

authorizes the district court to revise at any time any order or other decision that does not end the

action.” Austin v. Kroger Texas, L.P., 864 F.3d 326, 336 (5th Cir. 2017) (cleaned up) (citing Fed. R.

Civ. P. 54(b)).

         “Under Rule 54(b), ‘the trial court is free to reconsider and reverse its decision for any

reason it deems sufficient, even in the absence of new evidence or an intervening change in or

clarification of the substantive law.’” Id. (quoting Lavespere v. Niagara Mach. & Tool Works, Inc., 910

F.2d 167, 185 (5th Cir. 1990)). “Rule 54(b)’s approach to the interlocutory presentation of new

arguments as the case evolves can be more flexible, reflecting the ‘inherent power of the rendering

district court to afford such relief from interlocutory judgments as justice requires.’” Id. at 337

(quoting Cobell v. Jewell, 802 F.3d 12, 25–26 (D.C. Cir. 2015)).


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                                        2. Interlocutory Appeal

        28 U.S.C. § 1292(b) permits a district judge to, in certain circumstances, certify an issue for

interlocutory appeal. The statute reads in part:

                When a district judge, in making in a civil action an order not
                otherwise appealable under this section, shall be of the opinion that
                such order involves a controlling question of law as to which there is
                substantial ground for difference of opinion and that an immediate
                appeal from the order may materially advance the ultimate
                termination of the litigation, he shall so state in writing in such order.

28 U.S.C. § 1292(b).

        Thus, Defendant must convince the Court that the Court’s Order involved (1) a controlling

question of law, (2) that there is substantial ground for difference of opinion about the question of

law, and (3) that an immediate appeal from the Order may materially advance the ultimate

termination of the litigation.

         “Interlocutory appeals are generally disfavored, and statutes permitting them must be strictly

construed.” Mae v. Hurst, 613 F. App’x 314, 318 (5th Cir. 2015) (quoting Allen v. Okam Holdings, Inc.,

116 F.3d 153, 154 (5th Cir. 1997)). “The purpose of § 1292(b) is to provide for an interlocutory

appeal in those exceptional cases” in which the statutory criteria are met. United States v. Garner, 749

F.2d 281, 286 (5th Cir. 1985); accord Clark–Dietz & Associates–Engineers, Inc. v. Basic Constr. Co., 702

F.2d 67, 69 (5th Cir. 1983) (“Section 1292(b) appeals are exceptional.”).

        Further, “[t]he decision to certify an interlocutory appeal pursuant to section 1292(b) is

within the discretion of the trial court and unappealable.” In re Air Crash Disaster Near New Orleans,

La. on July 9, 1982, 821 F.2d 1147, 1167 (5th. Cir. 1987) (vacated on other grounds by Pan Am. World

Airways, Inc. v. Lopez, 490 U.S. 1032, 1033 (1989)); see Swint v. Chambers Cty. Comm’n, 514 U.S. 35, 47

(1995) (“Congress . . . chose to confer on district courts first line discretion to allow interlocutory

appeals.”); Cheney v. U.S. Dist. Ct. for Dist. of Columbia, 542 U.S. 367, 405 n.9 (2004) (Ginsburg, J.,

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dissenting) (“[T]he decision whether to allow an [interlocutory] appeal lies in the first instance in the

District Court’s sound discretion.”).

                                          III. DISCUSSION

                                    1. Motion for Reconsideration

         The Mesaros Defendants argue the Court should reconsider its order on the motions to

dismiss because the Court failed to address the issue of whether “a cause of action (rather than

jurisdiction) is lacking under 1985(3) for interference with ‘support or advocacy’ in the absence of

state action.” (Dkt. 69, at 3). First, the Mesaros Defendants state that their motion relies on similar

arguments to those made in their filings on the motion to dismiss, indicating the Court has already

addressed their arguments and declined to rule in their favor. (Id. at 1) (“As described in the

Mesaroses’ filings . . . .”). In addition, the Court’s order on the motion to dismiss addressed the

question of whether a cause of action under 1985(3) can exist in the absence of state action and cited

the Fifth Circuit in support of that proposition. (Dkt. 64, at 12–13) (“[T]he Fifth Circuit has

previously stated that § 1985(3) was created to allow plaintiffs to recover damages for interference

with their election-related rights and is a ‘specific remedy for interference by private individuals,’

unlike a claim based on the Fourteenth Amendment, which requires state action.”) (citing Paynes v.

Lee, 377 F.2d 61, 63–64 (5th Cir. 1967)). Therefore, the Court declines to reconsider its order on this

basis.

                                  2. Motion for Interlocutory Appeal

         All three motions for interlocutory appeal assert that the Court should certify an appeal

because the question of whether Plaintiffs were required to plead race-based animus. (Dkt. 66, at 5;

Dkt. 69, at 6; Dkt. 70, at 1). Park, the Mesaros Defendants, and Cisneros contend the order meets

the requirements of 28 U.S.C. § 1292(b). Specifically, they argue that the question of “whether the


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second portion of § 1985(3) … lacks the requirement to plead race-based animus” is a controlling

question of law, (Dkt. 69, at 6), because “Plaintiffs have made clear from the beginning that their

basis for federal jurisdiction revolves around this claim brought under the Act.” (Dkt. 66, at 8). They

believe there is substantial ground for difference of opinion because “neither the Supreme Court nor

the Fifth Circuit have addressed this question head on” and “this is an unresolved question of

federal law.” (Id. at 10, 13) (citing Dkt. 64, at 10). Finally, they argue that an appeal will materially

advance the termination of this litigation because if this question of law is resolved in Defendants

favor, Plaintiffs’ cause of action will necessarily be dismissed. (Dkt. 69, at 8).

        Plaintiffs primarily focus their argument in response on the “substantial ground for

difference of opinion” requirement. Plaintiffs contend that—although the Supreme Court and Fifth

Circuit have not addressed the question of whether Plaintiffs were required to plead race-based

animus head on—“just because a court is the first to rule on a particular question . . . does not mean

there is such a substantial difference of opinion as will support an interlocutory appeal.” (Dkt. 75, at

12) (citing Texas v. Ysleta del Sur Pueblo, 370 F. Supp. 3d 705, 710 (W.D. Tex. 2018)). They argue that

a mere lack of cases addressing a particular legal issue directly does not demonstrate a ground for

difference of opinion, and that “a substantial ground for difference of opinion is more likely to exist

where ‘the circuits are in dispute on the question and the Court of Appeals of the circuit has not

spoken on the point, if complicated questions arise under foreign law, or if novel and difficult

questions of first impression are presented.’” (Id. at 11) (citing Holcombe v. United States, No. 5:18-CV-

1151-XR, 2019 WL 13080126, at *2–3 (W.D. Tex. Sept. 10, 2019)). Plaintiffs also assert that a ruling

from the Fifth Circuit on the scope of the Ku Klux Klan Act would not prevent Plaintiffs from

continuing to pursue their state law claims in litigation and thus would not materially advance the

termination of this litigation. (Id. at 22).


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        For many of the reasons cited by Plaintiffs, this Court concludes that Park, the Mesaros

Defendants, and Cisneros have failed to show that this Court’s March 23, 2022 order meets the

requirements of Section 1292. Applying the law here, the Court finds that its order does not involve

a “controlling question of law to which there is substantial ground for difference of opinion.” As

Plaintiffs point out, a lack of binding cases addressing a specific legal issue does not constitute a

substantial ground for difference of opinion. The Court followed the Fifth Circuit law available to it

and did not find either a conflict in that body of law or a dearth of precedent that it could rely on to

reach its conclusion. Additionally and independently, early appellate review will not “materially

advance the ultimate termination of the litigation.” 28 U.S.C. § 1292(b). Rather, an interlocutory

appeal would slow this case, which is especially problematic as the parties have begun to engage in

discovery and another case in front of this Court, Cervini v. Stapp, 1:21-cv-568, is dependent on the

continuing litigation in this case.

                                         III. CONCLUSION

        For these reasons, IT IS ORDERED that Park’s Emergency Motion Requesting

Authorization for Interlocutory Appeal, (Dkt. 66); the Mesaros Defendants’ Motion to Reconsider

or, in the Alternative, Authorize Interlocutory Appeal, (Dkt. 69); and Cisneros’s Motion for Leave to

Appeal, (Dkt. 70), are DENIED.

        SIGNED on August 19, 2022.


                                                        ________________________________
                                                        ROBERT PITMAN
                                                        UNITED STATES DISTRICT JUDGE




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